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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                             )
                                                      )
               v.                                     )       Case No. 21-CR-00370
                                                      )
JENNIFER HEINL                                        )
                                                      )
                       Defendant.                     )       Electronically Filed


   DEFENDANT, JENNIFER HEINL’S SUPPLEMENTAL SENTENCING MEMORANDUM


        AND NOW comes Defendant, Jennifer Heinl, by and through her attorney, Martin A. Dietz,
Esquire, and respectfully requests the Court to consider the comments set forth in the additional
attached letters at the time of sentencing. Some of the letters have been redacted to remove personal
identifiers.




                                              Respectfully submitted,

                                              s/ Martin A. Dietz
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